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 1                   IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
 2                              TAMPA DIVISION
 3
 4   UNITED STATES OF AMERICA,           )
                                         )
 5                   Plaintiff,          )
                                         )
 6                                       ) Case No.
              vs.                        ) 8:20-CR-00220-WFJ-MRM-4
 7                                       )
                                         )
 8   ANTONIO A. DIAZ, JR.,               )
                                         )
 9                   Defendant.          )
10
11
     ____________________________________________________________
12
                            CHANGE OF PLEA HEARING
13                    BEFORE THE HONORABLE SEAN P. FLYNN
                        UNITED STATES MAGISTRATE JUDGE
14
                              AUGUST 4, 2021
15                              11:43 A.M.
                              TAMPA, FLORIDA
16   ____________________________________________________________
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21             Proceedings transcribed via courtroom digital audio
     recording by transcriptionist using computer-aided
22   transcription.
     ____________________________________________________________
23
                          DAVID J. COLLIER, RMR, CRR
24                     FEDERAL OFFICIAL COURT REPORTER
                     801 NORTH FLORIDA AVENUE, 7TH FLOOR
25                         TAMPA, FLORIDA 33602
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12   FOR THE DEFENDANT ANTONIO A. DIAZ:
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 1
 2                            P R O C E E D I N G S
 3                                - - - o0o - - -
 4               THE COURT:     Good morning, everyone.
 5               MR. STAVROU:     Good morning, sir.
 6               MR. ALBRITTON:     Good morning, Your Honor.
 7               THE COURT:     Mr. Calderon, would you please call the
 8   case.
 9               COURTROOM DEPUTY:     In the matter of the United States
10   of America versus Antonio A. Diaz, Jr., Criminal Case Number
11   8:20-CR-220-WFJ-SPF.
12               THE COURT:     Counsel, please make appearances.
13               MR. ALBRITTON:     Good morning, Your Honor.       Assistant
14   United States Attorney Callan Albritton for the United States.
15               THE COURT:     Good morning.
16               MR. STAVROU:     Good morning, Your Honor.      Alex Stavrou
17   on behalf of the defendant, Antonio Diaz, who is present to my
18   right.
19               THE COURT:     Good morning, and good morning to you,
20   Mr. Diaz.
21               THE DEFENDANT:     Good morning.
22               THE COURT:     All right.   Mr. Diaz, it's my
23   understanding that you are here today because you intend to
24   plead guilty to Count One of the indictment.          Is that what you
25   intend to do, sir?
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 1                THE DEFENDANT:     Yes, sir.
 2                MR. STAVROU:     Judge, we do still intend to plead, but
 3   we are going to ask that this be an open plea as opposed to the
 4   written terms of the plea agreement.
 5                THE COURT:     Okay.
 6                All right.     So, Mr. Diaz, what that means is you
 7   previously signed a plea agreement with the United States and
 8   that plea agreement was filed in the docket in this case.
 9   Do you understand that, sir?
10                THE DEFENDANT:     Yes, sir.
11                THE COURT:     And what your attorney is indicating
12   is that you wish to continue with your plea of guilty but you
13   don't want to do it pursuant to the plea agreement that you
14   signed.   Do you understand that?
15                THE DEFENDANT:     Yes, sir.
16                THE COURT:     All right.   Is that what you want to do
17   here today, sir?
18                THE DEFENDANT:     Yes, sir.
19                THE COURT:     All right.   Sir, it's your right to plead
20   guilty to this charge, but before the Court can accept your
21   guilty plea, I must find that you are doing so knowingly,
22   freely and voluntarily, and that there's a factual basis for
23   your plea.     Now, in order for me to make that determination,
24   I am going to have to ask you some questions here this morning
25   and I'm going to require that you answer those questions under
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 1   oath.     Do you understand?
 2               THE DEFENDANT:     Yes, sir.
 3               THE COURT:    All right.    Mr. Diaz, if there's anything
 4   that I say during this hearing that you do not understand,
 5   please let me know and I'll be happy to explain it to you.
 6   You may also speak with your attorney, who is seated next to
 7   you, at any time during this hearing, and if you'd like an
 8   opportunity to speak with him in private, just let me know and
 9   we'll take a break and I will give you that opportunity.             Do
10   you understand?
11               THE DEFENDANT:     Yes, sir.
12               THE COURT:    All right.    At this time I'm going to ask
13   my courtroom deputy officer to please administer the oath to
14   Mr. Diaz.
15               COURTROOM DEPUTY:     Mr. Diaz, may you please stand and
16   raise your right hand.
17               Do you solemnly swear or affirm that the statements
18   you shall make in this cause shall be the truth, the whole
19   truth and nothing but the truth?
20               THE DEFENDANT:     Yes, sir.
21               COURTROOM DEPUTY:     Please state your name for the
22   record.
23               THE DEFENDANT:     Antonio Diaz.
24               COURTROOM DEPUTY:     Thank you.    You may be seated.
25               THE COURT:    All right.    Mr. Diaz, before we go any
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 1   further, I just want to make sure we're on the same page here.
 2                According to your plea agreement, you are going to
 3   plead guilty to Count One of the indictment, and the Government
 4   as part of that plea agreement was going to dismiss Count Four
 5   against you.     Do you recall that, sir?
 6                THE DEFENDANT:   Yes, sir.
 7                THE COURT:   All right.    Now, going forward here today
 8   you intend to plead guilty to both Counts One and Four; is that
 9   correct?
10                THE DEFENDANT:   Yes, sir.
11                THE COURT:   All right.    Because you have the option,
12   you could plead guilty to one of them and plead not guilty to
13   the other one, or plead not guilty to both and your case would
14   proceed to trial.     Do you understand that?
15                THE DEFENDANT:   Yes, sir.
16                THE COURT:   All right.
17                All right.   Sir, you've just taken the oath to tell
18   the truth.     If you do not tell the truth or you leave anything
19   important out, anything you say can be used against you in a
20   separate prosecution for perjury or making a false statement.
21   Do you understand?
22                THE DEFENDANT:   Yes, sir.
23                THE COURT:   In addition, any statements that you make
24   here today can be used against you in any proceeding if you
25   challenge the taking of the plea, the judgment, the conviction
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 1   or the sentence.     Do you understand?
 2              THE DEFENDANT:       Yes, sir.
 3              THE COURT:     All right.       Mr. Diaz, I'm going to begin
 4   by asking you some questions to determine your competency.
 5              How old are you, sir?
 6              THE DEFENDANT:       30 years old.
 7              THE COURT:     33?
 8              THE DEFENDANT:       30 years old.
 9              THE COURT:     30, sir?
10              And how far did you go in school?
11              THE DEFENDANT:       Tenth grade.
12              THE COURT:     All right.       Can you read and understand
13   English?
14              THE DEFENDANT:       Yes, sir.
15              THE COURT:     As you sit here today, are you under the
16   influence of any drugs, alcohol or medication?
17              THE DEFENDANT:       No, sir.
18              THE COURT:     Sir, have you previously been treated for
19   or suffered from any mental or emotional disease?
20              THE DEFENDANT:       Yeah, like before I turned 18 I was,
21   but not since I've been 18.
22              THE COURT:     All right.       And I'm sorry to ask you
23   this, sir, but just to determine your competency, what symptoms
24   or illnesses did you previously have regarding mental disease?
25              THE DEFENDANT:       I think it was ADHD, something like
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 1   that.
 2              THE COURT:     Now, are you still experiencing symptoms
 3   related to your ADHD?
 4              THE DEFENDANT:     No.     Not really, no.
 5              THE COURT:     Okay.     Are you able to think clearly here
 6   today?
 7              THE DEFENDANT:     Yes, sir.
 8              THE COURT:     Are you able to understand what I'm
 9   saying to you?
10              THE DEFENDANT:     Yes, sir.
11              THE COURT:     Do you clearly understand where you are,
12   what you're doing and the importance of this proceeding?
13              THE DEFENDANT:     Yes, sir.
14              THE COURT:     To the best of your knowledge, are you
15   currently suffering from any mental or emotional disease?
16              THE DEFENDANT:     No, sir.
17              THE COURT:     Mr. Stavrou, do you have any concerns
18   regarding your client's competency?
19              MR. STAVROU:     I do not have any, Your Honor.
20              THE COURT:     And have you been able to effectively
21   communicate with your client and has he been able to assist in
22   his own defense?
23              MR. STAVROU:     Yes, he has, Your Honor.
24              THE COURT:     Thank you, sir.
25              All right.     Mr. Albritton, are there any other
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 1   questions you'd like me to ask the defendant regarding his
 2   competency?
 3              MR. ALBRITTON:     No, Your Honor.      Thank you.
 4              THE COURT:     All right.    The Court finds Mr. Diaz
 5   competent and will continue.
 6              Now, Mr. Diaz, I'm a United States Magistrate Judge.
 7   Your case is assigned to District Judge William Jung.            Now, a
 8   magistrate judge is a judge of lesser authority.           You have the
 9   right to have your guilty plea taken by the District Judge, or
10   you can consent to have your guilty plea taken by me here this
11   morning.   If you consent to have your guilty plea taken by me,
12   it will still be the District Judge who decides whether to
13   accept your plea, and if he accepts your plea, he will be the
14   one who imposes your sentence.         I will not be the judge who
15   sentences you.
16              I have with me on the bench a consent form that
17   appears to be signed by both you and your attorney indicating
18   that you wish to consent to have your guilty plea taken by me.
19   Is that what you intend to do, sir?
20              THE DEFENDANT:     Yes, sir.
21              THE COURT:     Or is that what you would like to do,
22   sir?
23              THE DEFENDANT:     Yes, sir.
24              THE COURT:     And did you make that decision after
25   speaking with your attorney?
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 1               THE DEFENDANT:     Yes, sir.
 2               THE COURT:    Did anyone force, threaten, coerce or
 3   intimidate you regarding your decision to consent to me?
 4               THE DEFENDANT:     No, sir.
 5               THE COURT:    All right.      I find that your waiver and
 6   consent are made knowingly, freely and voluntarily, and
 7   therefore I will continue.
 8               Mr. Diaz, have you had the opportunity to review all
 9   the facts and evidence in this case with your attorney?
10               THE DEFENDANT:     Yes, sir.
11               THE COURT:    Have you discussed with your attorney all
12   your options, including your option to take your case to trial?
13               THE DEFENDANT:     Yes, sir.
14               THE COURT:    Has your attorney done everything that
15   you've asked him to do?
16               THE DEFENDANT:     Yes, sir.
17               THE COURT:    Was that a yes?
18               THE DEFENDANT:     Yes, sir.
19               THE COURT:    Are you fully satisfied with the advice
20   and representation that you've received from your attorney?
21               THE DEFENDANT:     Yes, sir.
22               THE COURT:    All right.      Sir, I'm now going to go over
23   the rights that you have to make sure that you're making an
24   informed decision, so please listen carefully.
25               You have the right to have the assistance of an
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 1   attorney at trial and at every stage of these criminal
 2   proceedings, whether or not you can afford one.           Now, this
 3   right continues whether you plead guilty or not guilty.
 4               You have the right to plead not guilty, as you've
 5   previously done, and to continue with that plea.            If you
 6   continue with your plea of not guilty, you have the following
 7   rights under the Constitution and laws of the United States.
 8               You have the right to a speedy and public trial and
 9   to be tried by a jury of 12 people.         If you're tried by a jury,
10   all 12 jurors must unanimously agree on your guilt before you
11   can be convicted.      You are presumed innocent, and before you
12   can be found guilty, the burden of proof is on the
13   United States to prove your guilt by competent and sufficient
14   evidence beyond a reasonable doubt.         You do not have to prove
15   that you are innocent.
16               Now, at trial, witnesses for the United States must
17   come into the courtroom and testify in front of you.            You have
18   the right to confront those witnesses, that is, to see, hear,
19   question and cross-examine them.         You also have the right to
20   present your own evidence and to present your own witnesses.
21   If your witnesses will not come voluntarily, the Court can
22   issue orders to make them come, to compel their attendance.
23               You also have the right to choose whether to testify
24   at your trial.     Now, the choice to testify would be entirely up
25   to you, and if you choose not to testify, that decision cannot
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 1   be held against you.
 2               Do you understand these rights, sir?
 3               THE DEFENDANT:     Yes, sir.
 4               THE COURT:    Now, if you plead guilty to Counts One
 5   and Four of the indictment, you will waive and give up the
 6   trial rights I just told you about, there will be no trial, on
 7   your guilty plea the District Judge will find you guilty and
 8   convict you.
 9               Now, a plea of guilty admits the truth of the charges
10   in Counts One and Four and a plea of not guilty denies those
11   charges.    Do you understand the difference between pleading
12   guilty and not guilty?
13               THE DEFENDANT:     Yes, sir.
14               THE COURT:    Now, by pleading guilty you waive and
15   give up your right to trial, to confrontation and
16   cross-examination of Government witnesses, and to the
17   compulsory process for attendance of defense witnesses at
18   trial.     By pleading guilty you also waive and give up your
19   right to challenge the way in which the Government obtained any
20   evidence, statement or confession.         In addition, by pleading
21   guilty you may lose the right to challenge on appeal any
22   rulings which the Court has made in your case.           Because there
23   will be no trial, the next proceeding would be your sentencing.
24               Do you fully understand your rights and the rights
25   you'd be giving up by pleading guilty?
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 1               THE DEFENDANT:     Yes, sir.
 2               THE COURT:    Now, by pleading guilty to these felonies
 3   you may lose certain civil rights, such as your right to vote,
 4   hold public office, serve on juries and own and possess
 5   firearms.     A felony conviction may also prevent you from
 6   obtaining or keeping certain occupational licenses.
 7               Now, because the offense to which you'll be pleading
 8   guilty is a drug crime, you may also lose the right to
 9   participate in certain Federal benefit programs.
10               Now, if convicted, a defendant who is not a
11   United States citizen may be removed from the United States,
12   denied citizenship and denied admission to the United States in
13   the future.
14               Do you fully understand the consequences of pleading
15   guilty?
16               THE DEFENDANT:     Yes, sir.
17               THE COURT:    So, Mr. Albritton, I assume that the
18   defendant just decided to plead open right before this hearing?
19               MR. ALBRITTON:     Yes, Your Honor.
20               THE COURT:    So what I need though is the notice of
21   the charge against him as to Count Four and the maximum
22   penalties for -- minimum and maximum penalties for that charge.
23               MR. ALBRITTON:     If it's okay with Your Honor, I can
24   just -- I can just read it into the record right now.
25               THE COURT:    All right.    Well, let me -- I'll go
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 1   forward with Count One and then I'll let you read into the
 2   record Count Four.        I didn't bring that on the bench with me
 3   since I wasn't aware that it was going to be an open plea.
 4                MR. STAVROU:     And for the record, I don't have any
 5   objection to him reading that into the record for purposes of
 6   this morning.
 7                THE COURT:     All right.   Thank you.
 8                All right.     Mr. Diaz, I'm going to begin by advising
 9   you as to Count One.
10                Now, Count One charges you with conspiracy to
11   distribute and possess with intent to distribute a controlled
12   substance, which violation involved 5 kilograms or more of a
13   mixture and substance containing a detectable amount of
14   cocaine.
15                Now, the elements of Count One which the Government
16   must prove beyond a reasonable doubt are as follows:            First,
17   that two or more people in some way agreed to try to accomplish
18   a shared and unlawful plan to possess a mixture or substance
19   containing a detectable amount of cocaine; second, the
20   defendant knew the unlawful purpose of the plan and willfully
21   joined in it; and, third, the object of the unlawful plan was
22   to possess with intent to distribute 5 kilograms or more of a
23   mixture or substance containing a detectable amount of cocaine.
24                Mr. Albritton, did I accurately state the elements of
25   Count One?
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 1               MR. ALBRITTON:     Yes, Your Honor.
 2               THE COURT:     Mr. Stavrou, did I accurately state the
 3   elements of Count One, sir?
 4               MR. STAVROU:     Yes, Your Honor.
 5               THE COURT:     All right.   Mr. Diaz, do you understand
 6   what you've been charged with in Count One, sir?
 7               THE DEFENDANT:     Yes, sir.
 8               THE COURT:     And do you understand the elements of
 9   that charge?
10               THE DEFENDANT:     Yes, sir.
11               THE COURT:     All right, sir.     Now, in Count Four
12   you've been charged with, on or about August 15, 2019, in the
13   Middle District of Florida, while aiding and abetting
14   Darron Dexter Matthew McNeal, you did knowingly and
15   intentionally distribute a controlled substance, which
16   violation involved a mixture and substance containing a
17   detectable amount of cocaine, a Schedule II controlled
18   substance, in violation of 21 U.S.C. Sections 841(a)(1) and
19   841(b)(1)(C) and 18 U.S.C. Section 2.
20               All right.     Mr. Albritton, do you want to read into
21   the record the elements of Count Four, sir?
22               MR. ALBRITTON:     Yes, Your Honor.
23               The elements of Count Four, this is the distribution
24   count, is that, first, on the date alleged in the indictment,
25   defendants transferred a controlled substance, which violation
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 1   involved a mixture and substance containing a detectable amount
 2   of cocaine, to another person; second, that the defendant knew
 3   that the substance he was distributing was a controlled
 4   substance; and, third, that the defendant acted intentionally.
 5               THE COURT:     This is an aiding and abetting count;
 6   is that correct?
 7               MR. ALBRITTON:     Well, there -- the Government alleged
 8   they're aiding and abetting each other, Your Honor.
 9               THE COURT:     Right.   Is that the correct elements for
10   Count Four?
11               MR. ALBRITTON:     Yes, Your Honor.     That would just be
12   the standard distribution count.
13               THE COURT:     All right.   Mr. Stavrou, do you agree
14   that that's the correct elements for Count Four, sir?
15               MR. STAVROU:     I do agree, Your Honor.
16               THE COURT:     All right.   Mr. Diaz, do you understand
17   what you've been charged with in Count Four, sir?
18               THE DEFENDANT:     Yes, sir.
19               THE COURT:     Do you understand the elements of that
20   charge, sir?
21               THE DEFENDANT:     Yes, sir.
22               THE COURT:     All right, sir.     At this time I'm now
23   going to advise you of the minimum and maximum penalties that
24   you face.
25               Now, with respect to Count One, Count One is
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 1   punishable by a mandatory minimum term of imprisonment of
 2   ten years, up to life, a fine not to exceed $10 million, a term
 3   of supervised release of at least five years, and a special
 4   assessment of $100.
 5               With respect to certain offenses the Court shall
 6   order the defendant to make restitution to any victim of the
 7   offense, and with respect to other offenses the Court may order
 8   the defendant to make restitution to any victim of the offense
 9   or to the community as set forth in -- as set forth here today.
10               In addition, I just want to point out that you are
11   subject to a mandatory minimum sentence of ten years
12   imprisonment and a maximum sentence of life imprisonment as to
13   Count One because of the following facts that will be admitted
14   by you and established by your plea of guilty.           Those facts are
15   as follows:    That the amount of the mixture and substance
16   containing a detectable amount of cocaine that the defendant
17   conspired to distribute and possessed with intent to distribute
18   was 5 kilograms or more.
19               Mr. Albritton, did I accurately state the minimum and
20   maximum penalties as to Count One?
21               MR. ALBRITTON:     Yes, Your Honor.
22               THE COURT:     Mr. Stavrou?
23               MR. STAVROU:     Yes, sir, Your Honor.
24               THE COURT:     Mr. Diaz, do you understand the minimum
25   and maximum penalties that you face as to Count One?
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 1               THE DEFENDANT:     Yes, sir.
 2               THE COURT:     All right.   Mr. Albritton, would you
 3   please read the minimum and maximum penalties as to Count Four.
 4               MR. ALBRITTON:     Yes, Your Honor.
 5               As to Count Four, which is the distribution count,
 6   that count is -- again, Your Honor, I'm just saying all this
 7   for the record -- is punishable by 841(b)(1)(C).            The maximum
 8   penalty for this count, Your Honor, is 20 years imprisonment,
 9   there is no minimum mandatory, a fine not to exceed $1 million,
10   a term of supervised release of at least three years, a
11   $100 special assessment for this count, which for the record is
12   separate from the $100 special assessment of Count One.             What
13   Your Honor said regarding applicable restitution remains in
14   effect.    And in addition, I would add that defendant would be
15   subject to forfeiture, whatever forfeiture provisions are as
16   outlined in the indictment.
17               THE COURT:     All right.   Thank you, Mr. Albritton.
18               Mr. Stavrou, did Mr. Albritton accurately state the
19   minimum and maximum penalties for Count Four?
20               MR. STAVROU:     Yes, Your Honor, he did.
21               THE COURT:     All right.   Mr. Diaz, do you understand
22   the penalties that you face with respect to Count Four, sir?
23               THE DEFENDANT:     Yes, sir.
24               THE COURT:     All right.   Mr. Diaz, I'm going to take a
25   moment to explain to you supervised release, which will be part
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 1   of your sentence.
 2               Now, after you're released from a term of
 3   imprisonment, the Court will place you on a term of supervised
 4   release, which will include certain restrictions on your
 5   behavior.    Now, if you violate any of those restrictions while
 6   on supervised release, the Court, after conducting a hearing,
 7   could revoke your supervised release and sentence you to an
 8   additional term of imprisonment.          Do you understand?
 9               THE DEFENDANT:     Yes, sir.
10               THE COURT:    All right.      Mr. Diaz, do you have any
11   questions about anything we've gone over so far?
12               THE DEFENDANT:     No, sir.
13               THE COURT:    Do you understand everything we've
14   discussed, sir?
15               THE DEFENDANT:     Yes, sir.
16               THE COURT:    All right.      Mr. Diaz, I'm now going to go
17   over the sentencing process with you.
18               Now, the United States Sentencing Guidelines apply to
19   your case, and I want to make sure you understand how the
20   sentencing process works.
21               Now, in determining your sentence, the District Judge
22   must calculate the applicable sentencing guidelines range.
23   Now, the District Judge will make this determination after the
24   United States Probation Office has prepared the Presentence
25   Investigation Report.      Now, the purpose of this report, known
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 1   as a PSR, is to assist the sentencing judge in deciding what
 2   sentence to give you.      It will advise the Judge about the facts
 3   of your case, how the advisory sentencing guidelines apply to
 4   you, and provide some personal information about you, including
 5   whether you have a criminal history.
 6               Now, before the District Judge sees this report, you
 7   will have an opportunity to review it with your attorney.               If
 8   you or your attorney disagrees with anything in the report, you
 9   can ask the probation officer to change the report.            If the
10   probation officer refuses to change the report, your attorney
11   can take your objections to the District Judge.
12               Just as you have the right to object to what's in the
13   report, so does the prosecution.         Do you understand?
14               THE DEFENDANT:     Yes, sir.
15               THE COURT:    Now, in determining your sentence, the
16   District Judge must consider that range and any possible
17   departures under the sentencing guidelines and the factors
18   listed in 18 U.S.C. Section 3553(a).         Now, the District Judge
19   is not bound by the guidelines range.          He has the authority to
20   impose a sentence that is more severe or less severe than the
21   guidelines recommend.      He has the authority to impose any
22   sentence up to the maximum allowed by law.
23               Now, the United States may appeal a sentence that the
24   District Judge imposes.       That means the United States may ask a
25   higher court, the Court of Appeals, to reverse a sentence that
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 1   they believe is too low or based on sentencing guidelines
 2   miscalculation.
 3               Now, the sentence the District Judge imposes might be
 4   different than any estimated sentence your attorney or anyone
 5   else may have given you, it might be higher than you expect,
 6   and if that happens you will still be bound by your guilty plea
 7   and will not have the right to withdraw it.           Do you understand?
 8               THE DEFENDANT:     Yes, sir.
 9               THE COURT:    Do you understand that, sir?
10               THE DEFENDANT:     Yes, sir.
11               THE COURT:    All right.    At this time I'm going to ask
12   the Government to please proffer the facts that they believe
13   they would prove beyond a reasonable doubt should this case
14   proceed to trial.
15               Mr. Diaz, I'm going to ask you to listen carefully,
16   because when Mr. Albritton is done I'm going to ask you whether
17   those facts are true.
18               Mr. Albritton.
19               MR. ALBRITTON:     Thank you, Your Honor.
20               Beginning on an unknown date, but no later than on or
21   about June 14th, 2019, and continuing through on or about
22   October 31st, 2019, in the Middle District of Florida,
23   defendant Antonio A. Diaz, Jr. participated in an unlawful
24   agreement with others to distribute and possess with intent to
25   distribute a controlled substance.         All of the events described
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 1   below occurred within the Middle District of Florida.
 2               And I forgot to mention, Your Honor, for the record,
 3   I'm just reading from the plea agreement facts.
 4               On October 14th and 15th, 2019, (sic) a confidential
 5   informant contacted McNeal, that would be Darron Dexter Matthew
 6   McNeal, to purchase 3 ounces of cocaine.          On August 15th, 2019
 7   the CI contacted Tywon Spann to ascertain the whereabouts of
 8   McNeal.    Spann told the CI that Spann was waiting for McNeal to
 9   bring him 20 ounces of cocaine.        When the CI spoke with McNeal
10   later, McNeal told the CI that McNeal was going to pick up a
11   "brick" that day, referring to a kilogram of cocaine.             The CI
12   eventually met with McNeal that day.         McNeal drove Antonio Diaz
13   to the meeting, and Diaz handed the CI the 3 ounces of cocaine.
14               During the time period in question, Darron Dexter
15   Matthew McNeal was a supplier of cocaine in the Robles Park
16   housing project in Tampa, Florida.         As part of the
17   investigation, agents began judicially-authorized
18   contemporaneous interception of wire and electronic
19   communication over two of McNeal's telephones.           During the
20   course of the interception, McNeal ordered a total of
21   7 kilograms of cocaine from José Andujar for distribution.
22   During the course of the investigation, agents seized
23   approximately 1.95 kilograms of cocaine from Andujar bound for
24   McNeal, and agents also seized money from Andujar which McNeal
25   had given Andujar for cocaine sold on consignment.            Wire and
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 1   electronic interceptions show that Diaz was a runner and driver
 2   for McNeal.
 3               All of the events I just described occurred in the
 4   Middle District of Florida.        The events I just described, those
 5   facts are merely a brief summary of the events, some of the
 6   persons involved, and other information relating to this case.
 7   It does not include, nor is it intended to include, all of the
 8   events, persons involved, or other information relating to this
 9   case.
10               THE COURT:    Thank you, Mr. Albritton.
11               Mr. Diaz, are the facts stated by Mr. Albritton true?
12               THE DEFENDANT:     Yes, sir.
13               THE COURT:    All right.     The Court finds that there is
14   a factual basis for your plea and will continue.
15               Now, Mr. Diaz, do you understand everything that we
16   discussed up to this point, including your rights, the rights
17   you'd be giving up by pleading guilty, the charges against you,
18   the potential penalties, the potential consequences, the
19   sentencing guidelines?
20               THE DEFENDANT:     Yes, sir.
21               THE COURT:    All right.     At this time, sir, I will
22   take your plea.
23               With respect to Count One of the indictment, how do
24   you plead, guilty or not guilty?
25               THE DEFENDANT:     Guilty.
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 1               THE COURT:     With respect to Count Four of the
 2   indictment, how do you plead, guilty or not guilty?
 3               THE DEFENDANT:     Guilty.
 4               THE COURT:     All right.     Thank you, sir.    And I do
 5   have some follow-up questions for you.
 6               Are you pleading guilty freely and voluntarily and
 7   because you believe it is in your best interest to do so?
 8               THE DEFENDANT:     Yes, sir.
 9               THE COURT:     Mr. Diaz, are you pleading guilty because
10   you are in fact guilty?
11               THE DEFENDANT:     Yes, sir.
12               THE COURT:     Did anyone force, threaten, coerce or
13   intimidate you regarding your decision to plead guilty?
14               THE DEFENDANT:     No, sir.
15               THE COURT:     Were there any promises or assurances of
16   any kind given to you in order to get you to plead guilty?
17               THE DEFENDANT:     No, sir.
18               THE COURT:     All right.     Mr. Albritton, is the
19   Government satisfied with the colloquy?
20               MR. ALBRITTON:     Yes, Your Honor.
21               THE COURT:     Mr. Stavrou, is the defense satisfied
22   with the colloquy?
23               MR. STAVROU:     Yes, Your Honor.
24               THE COURT:     Sir, are you satisfied that your client
25   knows what he's been charged with, that you've had sufficient
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 1   time to counsel with your client and that he's pleading guilty
 2   freely and voluntarily, with full knowledge of the consequences
 3   of his plea?
 4               MR. STAVROU:     Yes, Your Honor.
 5               THE COURT:     Thank you, sir.
 6               All right.     Mr. Diaz, it's the finding of the Court
 7   in this case that you are fully competent and capable of
 8   entering an informed plea, you're aware of the nature of the
 9   charges and the consequences of the plea, and that your plea of
10   guilty is knowing and voluntary and supported by an independent
11   basis in fact which satisfies each of the essential elements of
12   the offenses.
13               In my report to the District Judge, I will therefore
14   recommend that your pleas of guilty be accepted, that you be
15   adjudged guilty, and that your sentence be imposed accordingly.
16               Is there anything further from the Government,
17   Mr. Albritton?
18               MR. ALBRITTON:     Yes, Your Honor, just briefly.
19               And just because this is an open plea today, I know
20   that Mr. Diaz said that the United States -- he is -- there's
21   no promises made, and the United States would like to confirm
22   that as well, it's an open plea.        Although a plea agreement was
23   tendered, we proceeded open today.         The United States has made
24   no promises.
25               THE COURT:     All right.   Thank you, Mr. Albritton.
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 1               And, Mr. Diaz, let me address that briefly.
 2               We talked at the beginning that you had a
 3   plea agreement that you signed and that you decided to plead
 4   guilty without the benefit of that plea agreement.            Do you
 5   remember that, sir?
 6               THE DEFENDANT:     Yes, sir.
 7               THE COURT:     All right.     And you decided to do that
 8   after consulting with your attorney; is that correct?
 9               THE DEFENDANT:     Yes, sir.
10               THE COURT:     Are you comfortable and are you satisfied
11   with your decision to plead guilty without the benefit of a
12   plea agreement?
13               THE DEFENDANT:     Yes, sir.
14               THE COURT:     All right.     Is there anything further
15   from the defense?
16               MR. STAVROU:     Nothing further from the defense,
17   Judge.
18               THE COURT:     All right.     Thank you.   We're adjourned.
19               MR. STAVROU:     Thank you.
20               MR. ALBRITTON:     Thank you, Your Honor.
21                                   - - - - -
22                  (Proceedings concluded at 12:07 p.m.)
23                                   - - - - -
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 1                            C E R T I F I C A T E
 2
 3               This is to certify that the foregoing transcript of
 4   proceedings taken in a change of plea hearing in the United
 5   States District Court is a true and accurate transcript of the
 6   proceedings taken by me in machine shorthand from a digital
 7   audio recording and transcribed by computer under my
 8   supervision, this the 23rd day of February, 2023.
 9
10
11                                                /S/ DAVID J. COLLIER
12
13                                               DAVID J. COLLIER
14                                               OFFICIAL COURT REPORTER
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